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                EXHIBIT 12
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November 30, 2023                                                                        Disha R. Patel

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Re: ModernaTX, Inc. et al v. Pfizer Inc. et al, Case No. 1:22-cv-11378-RGS (D. Mass.): Plaintiffs’
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Counsel:

Plaintiffs are herewith providing a overlay files for MOD_001276947 and MOD_001279172, as
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Regards,
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